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                                                                             Page 1
              IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                     GAINESVILLE DIVISION
         _________________________________
          FAIR FIGHT, INC., SCOTT         )
          BERSON, JOCELYN HEREDIA,        )
          and JANE DOE,                   )
                                          )
               Plaintiffs,                )
                                          )
          v.                              )    Case No.
                                          ) 2:20-cv-00302
          TRUE THE VOTE, CATHERINE        )      SCJ
          ENGELBRECHT, DEREK SOMERVILLE, )
          MARK DAVIS, MARK WILLIAMS,      )
          RON JOHNSON, JAMES COOPER,      )
          and JOHN DOES 1-10,             )
                                          )
               Defendants.                )
         _________________________________)

               Videotaped Deposition of RON JOHNSON
                    Conducted Remotely via Zoom
                   Wednesday, September 29, 2021
                           9:38 a.m. EDT

           Reported by Lisa A. Knight, RDR, CRR, RSA
         __________________________________________________
                          DIGITAL EVIDENCE GROUP
                      1730 M Street, NW, Suite 812
                         Washington, D.C. 20036
                             (202) 232-0646


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                                                                             Page 2
   1                     Pursuant to Notice, the videotaped

   2     deposition of RON JOHNSON was conducted

   3     remotely via Zoom on behalf of the

   4     Plaintiffs, at 9:38 a.m. EDT, on Wednesday,

   5     September 29, 2021, reported stenographically

   6     by Lisa A. Knight, Realtime Diplomate

   7     Reporter, Certified Realtime Reporter, and

   8     Realtime Systems Administrator.

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                                                                             Page 3
   1                      A P P E A R A N C E S
   2                     (All appearing remotely)
   3
   4     COUNSEL FOR THE PLAINTIFFS
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   6                JACOB SHELLY, ESQUIRE
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   7           10 G Street NE
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 18            812.232.2434
 19
 20      ALSO PRESENT:
 21            DANIEL HOLMSTOCK, Videographer
 22


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                                                                                  Page 4
  1                        I N D E X
  2                       RON JOHNSON
  3                   SEPTEMBER 29, 2021
  4      EXAMINATION OF RON JOHNSON:                                       PAGE
  5            BY MS. FORD                                                   8
  6
  7                          DEPOSITION EXHIBITS
  8                              RON JOHNSON
  9                           SEPTEMBER 29, 2021
 10      NUMBER                 DESCRIPTION                                PAGE
 11      Johnson A            Plaintiffs' Notice to                         14
                              Take the Deposition of
 12                           Defendant Ron Johnson,
                              No Bates
 13      Johnson B            E-mail string, top e-mail                    37
                              to James Cooper from Amy
 14                           Holsworth, 12/17/20,
                              Bates Def Williams 0745
 15                           to -749
 16      Johnson D            Defendant Ron Johnson's                      80
                              Responses to Plaintiffs'
 17                           First Interrogatories,
                              No Bates
 18      Johnson E            Text Message Log, Bates                      48
                              Def Cooper 0160 to -161
 19      Johnson G            True the Vote website                        52
                              article entitled Video:
 20                           Jackson County Board of
                              Elections & Registration
 21                           Rejects Call to Verify
                              Problematic Voter
 22                           Addresses, No Bates


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   1                     DEPOSITION EXHIBITS, CON'T
   2                               RON JOHNSON
   3                          SEPTEMBER 29, 2021
   4     NUMBER                  DESCRIPTION                               PAGE
   5     Johnson H            Letter Re:           Elector                 71
                              Challenge, Bates Def
   6                          Williams 0859
   7     Johnson I            E-mail string, top e-mail                    72
                              to Dara Lindenbaum and
   8                          others from Marisa Pyle,
   9                          12/21/20, No Bates
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                                                                             Page 6
   1                               PROCEEDINGS

   2                         THE VIDEOGRAPHER:                We are now

   3              on the record.

   4                         This is Video No. 1 in the

   5              video-recorded deposition of Ron

   6              Johnson.       It is taken in the matter of

   7              Fair Fight, Inc., et al., plaintiffs,

   8              versus True the Vote, et al.,

   9              defendants, and Fair Fight Action,

 10               Inc., counter-defendant.

 11                          This case is pending before the

 12               United States District Court for the

 13               Northern District of Georgia,

 14               Gainesville Division.                 Its case number

 15               is 2:20-cv-00302.

 16                          This deposition is being

 17               conducted by Zoom video remote

 18               conferencing, with the physical

 19               recording of this deposition taking

 20               place at my location here in Culpeper,

 21               Virginia.

 22                          Today's date is September 29,



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                                                                             Page 7
   1              2021.      The time on video screen is

   2              9:38 a.m. Eastern Daylight Time.

   3                         My name is Daniel Holmstock;

   4              I'm the legal videographer and digital

   5              exhibit technician from Digital

   6              Evidence Group.             And our court

   7              reporter today is Lisa Knight, also in

   8              association with Digital Evidence

   9              Group.

 10                          Now, for the record, unless an

 11               objection is stated to the following

 12               agreement, all parties to this

 13               deposition are appearing remotely and

 14               have agreed to the witness being sworn

 15               in remotely.

 16                          And due to the nature of remote

 17               reporting, please pause briefly before

 18               speaking, to ensure that all parties

 19               are heard completely.

 20                          Counsel, at this point, would

 21               you please introduce yourselves and

 22               whom you represent, followed by the



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                                                                             Page 8
   1              court reporter administering the oath.

   2                         MS. KRAMER:           Courtney Kramer,

   3              with The Bopp Law Firm, representing

   4              the defendants.

   5                         MS. BRYAN:          Leslie Bryan,

   6              Lawrence & Bundy, representing

   7              plaintiff.

   8                         MS. FORD:          This is Christina

   9              Ford of Elias Law Group, representing

 10               the plaintiffs.             And with me, I also

 11               have Jacob Shelly, also of the Elias

 12               Law Group, for the plaintiffs.

 13                              RON JOHNSON,

 14      having been first duly sworn to state the

 15      whole truth, testified as follows:

 16                                EXAMINATION

 17      BY MS. FORD:

 18               Q.         Thank you, Mr. Johnson, for

 19      being here today.             My name is Christina Ford;

 20      and, as you know, I represent the plaintiffs

 21      in this case.

 22                          Would you please state your



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                                                                             Page 9
   1     full name for the record.

   2              A.         Ronald Fredrick Johnson.

   3              Q.         Great.

   4                         And what is your current

   5     permanent addresses?

   6              A.         200 Knox Drive, Lavonia,

   7     Georgia 30335 [sic].

   8              Q.         Thank you.

   9                         And did I hear correctly

 10      before, that you had never testified in a

 11      deposition before?

 12               A.         That's not true.

 13               Q.         Okay.      I'm sorry.

 14                          So you have done a deposition

 15      before?

 16               A.         Yeah.

 17               Q.         Okay.      How many times have you

 18      been deposed before?

 19               A.         Numerous times.

 20               Q.         Okay.      Given that, I still

 21      think it will be a good idea to go over a

 22      couple rules for this deposition,



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                                                                                  Page 10
   1     particularly that this is a remote

   2     deposition.

   3                         If, at any point, you don't

   4     understand a question that I'm asking, please

   5     let me know, and I will do my best to

   6     rephrase or clarify the question.

   7                         So that means if you answer a

   8     question, I will assume that you understand

   9     what I was asking.

 10                          Is that fair?

 11               A.         Yes.

 12               Q.         Okay.      And if, at any time, you

 13      would like a break, please let me know and

 14      we'll find a good place to stop.                        The only

 15      exception is if we're in the middle of a

 16      question, I would ask that you answer the

 17      question before we take a break.

 18                          Does that sound fair to you?

 19               A.         Yes.

 20               Q.         Okay.      And as you know, today

 21      the court reporter is reporting this.                             And

 22      she can only capture on the record verbal



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                                                                                  Page 11
   1     answers.       So when you answer, please answer

   2     audibly and not by shaking your head or

   3     making gestures.

   4                         Does that sound good to you?

   5              A.         Yes.

   6              Q.         Okay.      And then, finally,

   7     please just wait until I finish asking my

   8     question before you begin answering so that

   9     we're not talking over each other.

 10                          Does that sound good as well?

 11               A.         Yes.

 12               Q.         Okay.      Great.

 13                          Mr. Johnson --

 14                          MS. KRAMER:           Real fast.

 15                          The screen right now, it looks

 16               as though ya'll are about to put a

 17               piece -- like, something on the screen

 18               with the Digital Evidence Group.

 19                          If you can -- there we go.

 20               There we go.          Give me one second.                Let

 21               me fix the screens really fast.

 22                          THE VIDEOGRAPHER:                All right.



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   1              I will only have the screen share

   2              enabled when a document is shown.

   3                         Ms. Ford, if you no longer want

   4              a document shown, please tell me to

   5              remove it so I can end the share.

   6                         MS. FORD:           Will do.         Thanks,

   7              Dan.

   8                         MS. KRAMER:            Thank you.

   9                         Sorry.        It just makes it easier

 10               for him to see who's talking and

 11               everything.

 12                          MS. FORD:           Sure.

 13      BY MS. FORD:

 14               Q.         Mr. Johnson, what address are

 15      you located at for this deposition?

 16               A.         I don't know the address.                      Oh,

 17      yeah, 400 College Avenue -- 440 College

 18      Avenue.

 19               Q.         Okay.       And what city is that

 20      in?

 21               A.         Athens.

 22               Q.         Okay.       And are you viewing this



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                                                                            Page 13
   1     deposition by a laptop?

   2              A.         Yes.

   3              Q.         Okay.      Do you have any

   4     documents in front of you right now?

   5              A.         No.

   6              Q.         Okay.      And I see that

   7     Ms. Kramer is in the room.

   8                         Is anybody else in the room

   9     with you?

 10               A.         Nope.

 11               Q.         Okay.      And just because I'm not

 12      there with you, I may not be able to see what

 13      you have in front of you or if anyone enters

 14      the room.

 15                          Can you please let me know if

 16      anybody does enter the room?

 17               A.         Yeah.      Yes.

 18               Q.         Okay.      And, Mr. Johnson, do you

 19      understand that you cannot ask your attorney

 20      today how to answer a particular question?

 21                          Obviously, Ms. Kramer may

 22      object, but you should answer the questions,



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                                                                             Page 14
   1     and you should not look to Ms. Kramer to tell

   2     you how to answer.

   3              A.         I understand that.

   4              Q.         Okay.

   5                         MS. FORD:          Dan, can we please

   6              put up what's been marked as

   7              Exhibit A.

   8                         THE VIDEOGRAPHER:                Do you want

   9              to retain Exhibit A as the official

 10               exhibit number?

 11                          MS. FORD:          Yes, please.

 12                          THE VIDEOGRAPHER:                Okay.

 13                          (Ford Exhibit A, Plaintiffs'

 14               Notice to Take the Deposition of

 15               Defendant Ron Johnson, No Bates, was

 16               marked for identification, as of this

 17               date.)

 18                          MS. FORD:          If we could make

 19               this as big as possible for

 20               Mr. Johnson.

 21      BY MS. FORD:

 22               Q.         Mr. Johnson, do you recognize



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                                                                                   Page 15
   1     this document?

   2              A.         (Document[s] reviewed.)

   3                         Well, actually, I've never

   4     opened up the thing that I got thrown at my

   5     doorstep.       I still have them in the package

   6     they came in.

   7              Q.         Okay.      I don't think this would

   8     have been sent to you in the mail.                          This is

   9     just something we sent to your counsel.                           That

 10      is a notice of your deposition.

 11                          I just want to confirm that you

 12      understand that you are appearing today

 13      pursuant to this notice.

 14               A.         Oh, I understand that.

 15               Q.         Okay.      And are you prepared to

 16      testify today?

 17               A.         Yes.

 18               Q.         Okay.      Thank you.

 19                          Okay.      I just have a couple of

 20      background questions.

 21                          Mr. Johnson, where do you live

 22      in Georgia?



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                                                                            Page 16
   1              A.         200 Knox Drive, Lavonia,

   2     Georgia 30335 [sic].

   3              Q.         Okay.      And is that in Jackson

   4     County?

   5              A.         No, it's not.

   6              Q.         Where is that?

   7              A.         That's in Hart County.

   8              Q.         Where is Hart County in

   9     relation to Jackson County?

 10               A.         About an hour north of Jackson

 11      County.       I recently bought some property

 12      there and built a house.

 13               Q.         Okay.      Did you used to reside

 14      in Jackson County?

 15               A.         Yes.

 16               Q.         Okay.      And how recently did you

 17      move?

 18               A.         Oh, six months ago.

 19               Q.         Okay.      Prior to that, how long

 20      had you lived in Jackson County?

 21               A.         Twelve years.

 22               Q.         Okay.      Could you please



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                                                                                    Page 17
   1     describe your educational background.

   2              A.         I have a high school diploma,

   3     I have a bachelor's degree in criminal

   4     justice, and I have a master's degree in

   5     education.

   6              Q.         Okay.      And are you retired now?

   7              A.         Yes.

   8              Q.         Okay.      What did you do for a

   9     living before you retired?

 10               A.         I was in the military.

 11               Q.         Okay.      Can you expand on that a

 12      little bit and just give me some color to

 13      what that looked like?

 14               A.         I was in the military, and

 15      I ended up as a First Sergeant E8.

 16                          And I think a lot of people

 17      know what the military does, so...

 18               Q.         Yes.      Okay.       Thank you.              I was

 19      looking for rank and whatnot.                      Thank you for

 20      your service.

 21                          Okay.      I would just like to ask

 22      you a couple of questions about the Jackson



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                                                                              Page 18
   1     County Board of Elections and the elections

   2     office generally.

   3                         Did you previously serve as --

   4     I'm not sure what it's called -- either the

   5     chief registrar or the chairman of the

   6     Jackson County Board of Elections?

   7              A.         For a short period.

   8              Q.         Okay.      When did you serve in

   9     that role?

 10               A.         I really don't remember the

 11      dates.      I mean, it was short.

 12               Q.         When you say "short," can you

 13      give me an estimate?

 14               A.         Four, five months.

 15               Q.         Okay.      Was it around the time

 16      of the 2018 general election?

 17               A.         It might have been.                 It wasn't

 18      this past election or the one before that.

 19               Q.         Okay.      And what was your role?

 20      What did you do in that role?

 21               A.         I was the chairman of that

 22      board.



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                                                                                 Page 19
   1              Q.         What were your duties as

   2     chairman?

   3              A.         Basically to hold the election

   4     board meetings.

   5              Q.         And what sort of things did the

   6     election board discuss or decide while you

   7     were there?

   8              A.         Well, we decided that -- you

   9     know, on different election things.                          Like

 10      somebody that actually came to our county and

 11      voted, they were from a different county, and

 12      we did provisional votes for them.                          And just

 13      all of that election board stuff, you know.

 14               Q.         Okay.      So while you were on the

 15      board, you maybe did some work checking lists

 16      of voters, going through provisional ballots,

 17      that sort of thing?

 18               A.         No.     That wasn't our thing.

 19      That was --

 20               Q.         Okay.

 21               A.         That was the election

 22      supervisor and the people that worked on the



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                                                                                  Page 20
   1     election, the election board.

   2              Q.         Okay.      The time that you were

   3     there, was that a pretty busy time for the

   4     office?

   5              A.         Not really.           There was only

   6     three members at the time.

   7              Q.         Okay.      Do you remember if

   8     Jackson County received any voter challenges

   9     before the 2018 general election?

 10               A.         I actually put in a voter

 11      challenge -- I wasn't on the board.                          I put in

 12      a voter challenge.

 13               Q.         When was that?

 14               A.         After or just before the

 15      presidential election.

 16               Q.         In this past election or in

 17      2016?

 18               A.         The past election.

 19               Q.         Oh, the past election.                   Okay.

 20                          So you put in a voter challenge

 21      in advance of the 2020 general election?

 22               A.         Yes.



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                                                                            Page 21
   1              Q.         Okay.      Was that to one person

   2     or to multiple people?

   3              A.         Multiple people.

   4              Q.         Approximately how many people?

   5              A.         Somewhere around 1400.

   6              Q.         Okay.      What was the basis of

   7     that challenge?

   8              A.         That the people that put change

   9     of addresses in had moved out of our county.

 10               Q.         Okay.      What did the Jackson

 11      County Board of Elections do with those

 12      challenges?

 13               A.         They did absolutely nothing.

 14      They had me come to a meeting, and they did

 15      absolutely nothing.

 16               Q.         Okay.      So they did not accept

 17      the challenges?

 18               A.         They didn't do anything with

 19      the challenges.

 20               Q.         Did they make a finding?

 21               A.         Yeah.      They didn't have

 22      probable cause to put those in.                       But



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                                                                            Page 22
   1     I checked them all through the United States

   2     Post Office.         And that's probable cause.

   3              Q.         Okay.      Okay.

   4                         So that was in advance of

   5     November 2020, it sounds like.

   6              A.         Yes.

   7              Q.         Okay.      Do you know specifically

   8     when that was?          How many months before?

   9              A.         No, I don't.            I don't recall

 10      that.

 11               Q.         Okay.      That's fine.

 12                          And when you put that voter

 13      challenge list together, is that something

 14      you did yourself?

 15               A.         No, I did not.

 16               Q.         Okay.      Who put that list

 17      together then?

 18               A.         Multiple people.

 19               Q.         Who were those people?

 20               A.         Just multiple people that

 21      I asked to help.

 22               Q.         Well, who are those people?



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                                                                            Page 23
   1              A.         Well, I'd rather not say.

   2              Q.         Well, Mr. Johnson, I don't

   3     think there's any sort of privilege that

   4     would protect that, so I would ask that you

   5     answer my question.

   6              A.         John and Jane Does.

   7              Q.         Mr. Johnson, I don't think

   8     that's an appropriate answer.                      If we later

   9     need to get some sort of protective order

 10      from the court, that might be something we

 11      can do.

 12                          But, for the moment, you're

 13      under oath, and your counsel hasn't objected.

 14      So I would ask you, again:                    Who helped you

 15      put together the list?

 16               A.         Well, I had a few people that

 17      were people in Jackson County.                       And then

 18      I got contacted by True the Vote, and

 19      I talked to them about giving some names to

 20      me and all that, so...

 21               Q.         And this is still before the

 22      2020 election?



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                                                                            Page 24
   1              A.         Yes.

   2              Q.         Okay.      But what are the names

   3     of the people who helped you put together the

   4     challenge?

   5              A.         Basically True the Vote.

   6     People that were with them.

   7              Q.         Okay.      Would that be, like,

   8     Catherine Engelbrecht?

   9              A.         Yeah.      I've talked to Catherine

 10      once or twice.          That's it.

 11               Q.         Did she help put together

 12      the -- your challenge before November 2020?

 13               A.         I don't have any idea who put

 14      that together.          I don't know if she did or

 15      not.

 16               Q.         Okay.      But today, you're

 17      telling me that at least someone affiliated

 18      with True the Vote helped you put together

 19      the challenge prior to November 2020.

 20               A.         Yes.

 21               Q.         Okay.      But are you telling me

 22      that you do not know who it was from True the



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                                                                            Page 25
   1     Vote, or do you know but you just are not

   2     telling me right now?

   3              A.         I don't recall who put it

   4     together.       I don't remember talking to

   5     anybody.       I talked to Gregg.                I met Gregg,

   6     and I talked to him.

   7                         Other than Gregg, I have never

   8     met anybody from True the Vote.                       And I've

   9     talked to Catherine twice.

 10               Q.         Okay.      Is that Gregg Phillips

 11      you're referring to?

 12               A.         I didn't know his last name.

 13               Q.         Okay.      So I just want to make

 14      sure I understand.             So you did not personally

 15      put together that list of 1400 people --

 16               A.         Actually, that's not true.

 17      I put some names on that list because I had a

 18      person that was actually registered to vote

 19      at my house; and unless she was living in my

 20      attic and not coming out of the attic until

 21      we were gone, she wasn't living there.

 22                          And it was -- actually, she was



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                                                                            Page 26
   1     registered there.             And that's what got me

   2     started on this whole thing.

   3              Q.         Okay.      Well, after you

   4     discovered that, what did -- what do you mean

   5     by "got me started on this whole thing"?

   6              A.         I went and -- to the election

   7     board and said, "This woman is registered at

   8     my house.       And I've owned this house almost

   9     three years, and she hasn't lived there in at

 10      least the last three years."

 11                          And they told me they couldn't

 12      take her off.          There was a process.                  So

 13      I started digging into the process.

 14               Q.         And what did you do from there?

 15               A.         Then when I met Gregg -- I have

 16      to say that because I have a friend named

 17      Craig.      Gregg.      When I met Gregg and they

 18      told me what they were doing, I started to

 19      get a little more involved in this.

 20               Q.         Okay.      And when you say what

 21      Gregg said you -- what Gregg explained what

 22      they were doing, what was that that they were



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                                                                            Page 27
   1     doing?

   2              A.         That they were checking voter

   3     registrations and -- through the post office,

   4     whether they moved or not.                    And I got

   5     interested.

   6              Q.         And how did you meet Gregg?

   7              A.         I was at a friend's business,

   8     and Gregg was there doing business with him.

   9              Q.         Okay.      All right.

 10                          So is it fair to say that

 11      whatever list you submitted in advance of the

 12      2020 general, it sounds like you had some

 13      collaboration to develop that list with True

 14      the Vote?

 15               A.         Well, I asked them if they had

 16      a list.

 17               Q.         Okay.      And they said yes?

 18               A.         Yep.

 19               Q.         Okay.      And then they gave you

 20      that list?

 21               A.         Well, somebody gave me.

 22      I don't know who actually sent it to the



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                                                                              Page 28
   1     county.       I gave them my electronic signature.

   2              Q.         Okay.

   3                         MS. KRAMER:           Counsel, just a

   4              point of clarification.                   I just want

   5              to clarify that we're talking about

   6              before the 2020 general in

   7              November and not the 2021 runoff that

   8              we just had in January.

   9                         MS. FORD:          Right.        I understand

 10               that.

 11                          MS. KRAMER:           Right.        Okay.

 12                          I just want to make sure my

 13               client understands that we're talking

 14               about before November and not right --

 15               not before January.                That time period

 16               in between.

 17                          THE DEPONENT:             Yeah.

 18                          MS. KRAMER:           Okay.

 19                          MS. FORD:          Great.        That's my

 20               understanding as well.

 21                          MS. KRAMER:           Okay.       Thank you.

 22      ///



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                                                                             Page 29
   1     BY MS. FORD:

   2              Q.         Mr. Johnson, before you

   3     authorized True the Vote to submit a

   4     challenge in your name before the 2020

   5     general, did you take a look at that list of

   6     1400 voters?

   7              A.         Yes, I did.

   8              Q.         Okay.      So you physically had

   9     seen the list before it was submitted?

 10               A.         Yes.

 11               Q.         Okay.      To your understanding,

 12      was that list solely based off of the Change

 13      of Address database?

 14               A.         Yes.

 15               Q.         Okay.      Was anything else done

 16      with the list or it was solely change of

 17      address?

 18               A.         Oh, I have no idea.                 I know

 19      mine was change of addresses.

 20               Q.         Okay.      All right.            So you said

 21      that Jackson County Election Board did not

 22      find probable cause for those.                       Correct?



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                                                                            Page 30
   1              A.         Yep.      At the meeting I was at,

   2     they did not find probable cause --

   3              Q.         Okay.

   4              A.         -- which, according to Georgia

   5     law, that is probable cause.

   6              Q.         Okay.      Thank you.

   7                         A slightly different topic.

   8     Did Jackson County use the National Change of

   9     Address database while you were on the board?

 10               A.         Actually, it was the State of

 11      Georgia, Secretary of State's office, used

 12      it.    And that -- all the elections go through

 13      them.

 14               Q.         Okay.      So before, when you said

 15      you went to the Jackson County elections

 16      office to report this person that you said

 17      was registered at your house --

 18               A.         Um-hum.

 19               Q.         -- and you said they told you

 20      there was a process for that.                      Right?

 21               A.         Right.

 22               Q.         There was a process to handle



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                                                                              Page 31
   1     that?

   2              A.         Yes, they did.

   3              Q.         Did they explain what that

   4     process was?

   5              A.         No, they did not.                They didn't

   6     know what the process was.

   7              Q.         Okay.      So moving on from 2020

   8     more into the runoff election.                       Can you tell

   9     me how you generally came to be involved with

 10      that challenge effort?

 11               A.         I wasn't.

 12               Q.         You were not involved with the

 13      challenge effort?

 14               A.         The runoff.

 15               Q.         So you had no involvement with

 16      that challenge?

 17               A.         Not with the runoff.

 18               Q.         Did you recruit volunteers to

 19      help with the challenge program?

 20               A.         No, I did not recruit them.

 21      I gave names to somebody -- it wasn't

 22      Catherine -- somebody with True the Vote on



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                                                                            Page 32
   1     who they might contact.

   2              Q.         Okay.      Just to make sure

   3     I understand this.             Does that mean that --

   4     say -- let me use an example so we're

   5     understanding each other.

   6                         Say there was someone named

   7     Bob.     And you thought Bob might potentially

   8     be a challenger.            Does that mean you called

   9     up Bob to ask, "Will you be a challenger?"

 10      Or did you just give True the Vote Bob's

 11      name?

 12               A.         I just gave True the Vote Bob's

 13      name.

 14               Q.         Okay.      Thank you.            That's

 15      helpful.

 16                          When were you approached about

 17      helping with this project?

 18               A.         Actually, I don't recall when.

 19      It was sometime after meeting Gregg.

 20               Q.         Okay.      And it was -- was it

 21      after the 2020 general election?

 22               A.         No.     It was before.



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                                                                            Page 33
   1              Q.         It was before.             Okay.

   2                         Does that mean at the time you

   3     started talking about this, you already had

   4     the idea in mind to challenge people in the

   5     2021 runoff election?

   6              A.         Yes, I already had the idea to

   7     challenge some of them in Jackson County

   8     because of the woman that was registered at

   9     my house and didn't live there.

 10               Q.         Okay.      So what was your

 11      understanding of the goal of the challenges

 12      for the runoff election?

 13               A.         As a matter of fact, my opening

 14      statement to the Jackson County Election

 15      Board is, "I'm not here to drop anybody off

 16      the voter rolls.            What I'm here for is to

 17      make sure the people vote in the county they

 18      legally live in."

 19               Q.         Okay.      So what were you hoping

 20      that the challenge would accomplish then?

 21               A.         That we would get the people

 22      legally registered in their own counties; and



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                                                                                 Page 34
   1     the ones that live out of state, not to be

   2     registered in Georgia.

   3              Q.         Okay.      All right.

   4                         How many names did you forward

   5     to True the Vote?

   6              A.         How many names did I?

   7              Q.         Yes.

   8              A.         Probably 15.

   9              Q.         Okay.      And when you were coming

 10      up with names, were you looking for any

 11      particular kind of person?

 12               A.         No.     I was looking for an

 13      American.

 14               Q.         What do you mean by that?

 15               A.         That anybody that lived in

 16      America that was legally able to vote.                            It

 17      didn't matter who they were.

 18               Q.         Okay.      And were you given any

 19      sort of instructions as to who you should

 20      look for?

 21               A.         No.

 22               Q.         Okay.      Do you remember who



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                                                                            Page 35
   1     explicitly asked you to send names over from

   2     True the Vote?

   3              A.         No, I can't recall that name.

   4              Q.         Okay.      Were you asked to send

   5     names for any specific counties?

   6              A.         No, I was not.

   7              Q.         Okay.      And how did you reach

   8     out to these -- actually, I'm sorry.

   9                         So you said you personally did

 10      not reach out to any of these potential

 11      challengers?

 12               A.         No, I did not.

 13               Q.         Okay.      So all you did was

 14      forward a name to someone at True the Vote

 15      and provided contact information for that

 16      person?

 17               A.         Yes.

 18               Q.         Okay.      So at that point, was it

 19      then True the Vote's responsibility to go

 20      contact that person to see if they would be

 21      willing to be a challenger?

 22               A.         Yes.



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                                                                            Page 36
   1              Q.         Okay.      And, to your knowledge,

   2     did True the Vote do that?

   3              A.         I'm not -- I don't recall that

   4     because I wasn't involved with that part of

   5     the process.

   6              Q.         Okay.      When you sent True the

   7     Vote information of the names, how did you

   8     forward that information?

   9              A.         I believe I texted it to them.

 10               Q.         Okay.

 11               A.         To the person I was dealing

 12      with.

 13               Q.         And who was that person?

 14               A.         I've already told you numerous

 15      times:      I don't recall that person's name.

 16               Q.         After you had done that, did

 17      any of the people who you forwarded their

 18      information contact you to ask about the

 19      challenge program?

 20               A.         No, they did not.

 21               Q.         Okay.      So just to make sure I'm

 22      clear and I understand:                 You forwarded these



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                                                                            Page 37
   1     names to True the Vote, but you never had any

   2     conversations with any of these -- any of

   3     these individuals about participating in the

   4     challenge program?

   5              A.         That's correct.

   6              Q.         Okay.

   7                         MS. FORD:          Dan, can we pull up

   8              Exhibit B.

   9                         (Ford Exhibit B, E-mail string,

 10               top e-mail to James Cooper from Amy

 11               Holsworth, 12/17/20, Bates Def

 12               Williams 0745 to -749, was marked for

 13               identification, as of this date.)

 14                          MS. FORD:          Can we scroll down

 15               to page 2.         Scroll down just slightly

 16               further to where -- right here is

 17               great.      Actually, can you scroll up

 18               just a little bit more?                   Perfect.

 19      BY MS. FORD:

 20               Q.         Mr. Johnson, I believe, before,

 21      you said -- and I might have misheard you --

 22      you recruited, you think -- sorry, not



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                                                                                  Page 38
   1     "recruited," forwarded 15 names.

   2                         Here, I have an e-mail.                       Is

   3     this your e-mail:             Chairman@windstream.net?

   4              A.         Yes, it is.

   5              Q.         Okay.      Can you just take a

   6     moment to read what you've written right

   7     here, starting with, "As of this morning..."

   8              A.         (Document[s] reviewed.)

   9                         Yeah, I know the e-mail.                      You

 10      can take it down.

 11               Q.         Okay.      I just want to clarify.

 12      Here, you say that you have more than 50.

 13                          Does that mean you sent -- you

 14      believe that to be true, you sent more than

 15      50, not 15?

 16               A.         That -- I don't recall that.

 17      And I don't keep my e-mails, so...

 18               Q.         Okay.      So at the time you wrote

 19      this, you don't think this was true?

 20               A.         It could be true.                I don't

 21      know.

 22               Q.         Do you know why you would have



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                                                                             Page 39
   1     said that if it wasn't true?

   2              A.         I might have had a list coming

   3     to her that had that many on there, names,

   4     just names and phone numbers --

   5              Q.         Okay.

   6              A.         -- of challengers.                I think...

   7                         MS. FORD:          Dan, can we actually

   8              keep this up here for just a second.

   9     BY MS. FORD:

 10               Q.         Mr. Johnson, can you explain

 11      what you meant by "What I need is the last of

 12      the counties that we are actually going to

 13      have challenges"?

 14               A.         (Document[s] reviewed.)

 15                          I wanted to get a list of the

 16      counties that they already had challenges

 17      from, not the challenge -- not the list of

 18      the people, the list of the people that I had

 19      given their names.

 20               Q.         So, Mr. Johnson, when I read

 21      this, this sounds to me like you were asking

 22      True the Vote for what counties they plan to



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                                                                            Page 40
   1     do a challenge in.

   2                         Is that not your understanding?

   3              A.         (Document[s] reviewed.)

   4                         What I wanted to get with them

   5     at the time was the list of the counties that

   6     they thought they already had that they were

   7     going to challenge in because I wanted to

   8     make sure the people I was giving them were

   9     getting contacted.

 10               Q.         Okay.      Okay.        So does that mean

 11      you understood that there was some kind of

 12      list of counties that True the Vote wanted to

 13      put a challenge in?

 14               A.         No, no.        I knew True the Vote

 15      was doing 159 of them.                 At the time, I was

 16      the chairman of all the counties under 80,000

 17      in population.          And I wanted to know if the

 18      chairmans of those counties were actually

 19      doing anything.

 20               Q.         Can you explain what you mean

 21      by that?

 22               A.         By what?



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                                                                            Page 41
   1              Q.         "If the chairmans were doing

   2     anything."

   3              A.         If the chairmans of those

   4     counties were actually going to do the

   5     challenges.

   6              Q.         Okay.      And when you say

   7     "chairmans," you mean chairmen of the GOP?

   8              A.         Chairmen of the county GOPs.

   9              Q.         Okay.      Does that mean that if

 10      the county GOP was not planning to do their

 11      own challenge, that True the Vote would step

 12      in and do the challenge in that county?

 13               A.         Absolutely not.              They're not

 14      allowed to by law.             It has to be somebody in

 15      that county, a registered voter in that

 16      county.

 17               Q.         Sorry.

 18                          What I meant by True the Vote

 19      is:    Would True the Vote take it upon itself

 20      to prioritize finding a challenger for that

 21      county if the county GOP was not going to do

 22      it?



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                                                                                    Page 42
   1                         MS. KRAMER:           Objection.

   2              Speculation.

   3              A.         Yeah, I have no idea what their

   4     organization does.

   5     BY MS. FORD:

   6              Q.         Okay.      All right.            So when you

   7     were working on recruiting names -- sorry,

   8     finding names to forward, was it your

   9     understanding that True the Vote planned to

 10      submit a challenge in all 159 counties in

 11      Georgia?

 12               A.         I have no idea what they were

 13      going to do.         I assumed that they were

 14      probably going to do the big counties, but

 15      they might want to do the small counties.

 16                          And I wasn't recruiting

 17      anybody.       I was giving them a name that was

 18      the county chairman of those counties.                            I was

 19      the chairman of the counties that were

 20      under -- that are under 80,000 in population

 21      for the Georgia GOP.               I was that chairman.

 22      And what I was doing was I forwarded those



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                                                                            Page 43
   1     names and how to contact them to True the

   2     Vote.

   3              Q.         Understood.

   4                         So --

   5              A.         I didn't recruit anybody.

   6              Q.         Every name that you forwarded,

   7     then, was that person that county's GOP

   8     chairman --

   9              A.         Yes.

 10               Q.         -- or -woman?

 11                          Yes.      Okay.

 12                          Is it your understanding today

 13      that True the Vote did not challenge --

 14      submit a challenge in all 159 counties?

 15               A.         I have no idea what they

 16      submitted.        I knew they submitted one to

 17      Jackson County.           And I know they submitted a

 18      couple in other counties because I know those

 19      GOP chairmen.

 20               Q.         Okay.      Going back to what you

 21      said a minute ago, you assumed that True the

 22      Vote would submit them or would prioritize



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                                                                            Page 44
   1     the big counties.

   2                         Why did you assume that?

   3              A.         Because that's where we have

   4     the most problem with voting fraud.

   5              Q.         Can you explain what you mean

   6     by that?

   7              A.         Yeah.      We have ballots that

   8     show up three days later to the election

   9     office.

 10               Q.         What do you mean by "three days

 11      later"?

 12               A.         Like, I mean, three days later,

 13      after the polls close.

 14               Q.         And are you telling me that you

 15      think that those votes are counted

 16      improperly?

 17               A.         Actually, that's what I

 18      believe.       It doesn't take three days to go

 19      from a precinct to the election office

 20      anywhere in this state.

 21               Q.         And do you think that's less of

 22      a problem in the small counties?



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                                                                               Page 45
   1              A.         No, I don't.            No, I don't.

   2              Q.         Mr. Johnson, the other day --

   3     and I realize you weren't here for

   4     Mr. Cooper's deposition, but Mr. Cooper

   5     testified that there was some sort of shared

   6     file or shared list of all the potential

   7     challengers.

   8                         Does that sound right to you?

   9              A.         No.     I didn't get that list.

 10               Q.         Okay.      So you never saw, like,

 11      some sort of comprehensive list of --

 12               A.         No, I didn't.

 13               Q.         Okay.

 14                          MS. FORD:          Would you mind if we

 15               take a five-minute break?                    Okay.

 16               Great.

 17                          THE VIDEOGRAPHER:                All right.

 18               Stand by.

 19                          The time is 10:17 a.m.                   We're

 20               going off the record.

 21                          (Recess taken.)

 22                          THE VIDEOGRAPHER:                The time is



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                                                                            Page 46
   1              10:22 a.m., and we're back on the

   2              record.

   3     BY MS. FORD:

   4              Q.         Mr. Johnson, I promise I just

   5     have a few more questions on the other

   6     challengers and then we can move on.

   7                         So you said that you forwarded

   8     names to True the Vote of county GOP chairmen

   9     that you knew who you thought might be

 10      interested.

 11                          And am I correct that you say

 12      you do not remember who you forwarded those

 13      names to?

 14               A.         No, I don't recall that.

 15               Q.         Do you think that it was Gregg

 16      Phillips?

 17               A.         No.     I know it wasn't Gregg

 18      Phillips.       I don't recall the person.

 19               Q.         Well, I just have some names

 20      here to jog your memory.

 21                          What about Mark Williams?

 22               A.         No.     Mark Williams is my



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                                                                            Page 47
   1     friend.       I was sitting at his office when

   2     I met Gregg.

   3              Q.         Okay.      That was the first time

   4     you met Gregg?

   5              A.         Yeah.      First and only time.

   6     I haven't -- maybe I spoke to him once again,

   7     but...

   8              Q.         And how long ago was that that

   9     you first met Gregg?

 10               A.         Before the 2020 election.

 11               Q.         Okay.

 12               A.         And I haven't talked to him

 13      since, so...

 14               Q.         Do you think you might have

 15      forwarded the names to James Cooper?

 16               A.         No.     He's another one; he was

 17      right here about 15 minutes from me.

 18               Q.         Do you think you might have

 19      forwarded them to Amy Holsworth?

 20               A.         I don't recall that name at

 21      all.

 22               Q.         What about Catherine



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                                                                             Page 48
   1     Engelbrecht?

   2              A.         No, I did not forward anything

   3     to Catherine.

   4              Q.         Okay.      What about John David

   5     Phillips?

   6              A.         I don't even know that name.

   7              Q.         Okay.      All right.            So you just

   8     cannot recall who you sent the names to?

   9              A.         (Shook head side to side.)

 10               Q.         Okay.

 11                          MS. FORD:          Dan, can we pull up

 12               Exhibit E.

 13                          (Ford Exhibit E, Text Message

 14               Log, Bates Def Cooper

 15               0160 to -161, was marked for

 16               identification, as of this date.)

 17                          MS. FORD:          Is this as big as it

 18               can get?

 19                          (Videographer adjusted text

 20               size.)

 21                          MS. FORD:          This is great.

 22      ///



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                                                                               Page 49
   1     BY MS. FORD:

   2              Q.         Mr. Johnson, could you just

   3     take a moment to read this text thread,

   4     exactly what's on this page, and let me know

   5     when you're done.

   6              A.         (Document[s] reviewed.)

   7                         Okay.

   8              Q.         So this says from Mark

   9     Williams.       "You should have just gotten 3

 10      e-mails.       Each contained a list."

 11                          What were those three e-mails?

 12               A.         I have no idea.              If that's a

 13      Zoom call -- it looks like that might have

 14      been a Zoom call.             You're the very first Zoom

 15      call I've ever done in my life.                       And I didn't

 16      want to do this one.

 17               Q.         Well, I appreciate --

 18               A.         I'm an in-person guy.

 19               Q.         Well, I appreciate that you're

 20      here today.

 21                          So you don't remember what

 22      those three e-mails were?



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                                                                             Page 50
   1              A.         No.

   2              Q.         Okay.      Do you agree that you

   3     must have received the e-mail -- well,

   4     let's --

   5                         MS. FORD:          Can we scroll down a

   6              bit, Dan?        Actually, let's keep going.

   7                         THE VIDEOGRAPHER:                Do you mean

   8              to the next page, Counsel?

   9                         MS. FORD:          Yes.      Thank you.

 10                          THE VIDEOGRAPHER:                Okay.

 11      BY MS. FORD:

 12               Q.         So, here, Mr. Johnson, you say,

 13      "Going over the lists I see a lot in the 9th

 14      that I already sent."

 15                          Would you agree you must have

 16      received that e-mail?

 17               A.         What does it say?

 18                          (Document[s] reviewed.)

 19                          Yeah, I probably did receive

 20      it.

 21               Q.         Okay.

 22               A.         Is that an e-mail?



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                                                                            Page 51
   1              Q.         This right here is a text

   2     message thread --

   3              A.         Okay.

   4              Q.         -- that was produced by

   5     Mr. Cooper.

   6                         MS. FORD:          Okay.       We can take

   7              this exhibit down.

   8     BY MS. FORD:

   9              Q.         And, Mr. Johnson, now I'd like

 10      to move on to the -- more about the 2021

 11      runoff election.

 12                          So at some point after the 2020

 13      general election, who started the

 14      conversation about filing more challenges?

 15               A.         I wasn't involved with that at

 16      all.     I was worried about getting voters out

 17      at that time.          And that's what I was working

 18      on.

 19               Q.         By that, do you mean getting

 20      voters out doing Get Out the Vote work?

 21               A.         Yeah.

 22               Q.         Okay.      But is it true that you



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                                                                            Page 52
   1     did submit a challenge for Jackson County in

   2     the 2021 runoff election?

   3              A.         No, I did not.

   4              Q.         You did not submit a challenge

   5     to Jackson County?

   6              A.         I submitted one challenge to

   7     Jackson County, and that was the 2020

   8     presidential election.

   9                         MS. FORD:          Dan, can we pull up

 10               Exhibit G.

 11                          (Ford Exhibit G, True the Vote

 12               website article entitled Video:

 13               Jackson County Board of Elections &

 14               Registration Rejects Call to Verify

 15               Problematic Voter Addresses, No Bates,

 16               was marked for identification, as of

 17               this date.)

 18      BY MS. FORD:

 19               Q.         So this, Mr. Johnson, is just

 20      something that I got off the True the Vote

 21      website posted on December 28th, 2020.

 22                          MS. FORD:          Dan, can we scroll



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                                                                                Page 53
   1              down?

   2                         (Videographer complied.)

   3                         MS. FORD:          I think this is

   4              good, Dan.

   5     BY MS. FORD:

   6              Q.         Mr. Johnson, could you read

   7     this, please.          Just this paragraph.

   8              A.         (Document[s] reviewed.)

   9                         That's from -- yeah, that's

 10      actually from the election board meeting that

 11      I attended.

 12                          And we asked for -- I didn't.

 13      I mean, I did, but True the Vote didn't.

 14      They weren't even there.                  They -- I asked for

 15      the list of the voters that actually voted

 16      that were on the challenge list.

 17                          But it wasn't for True the

 18      Vote; that was for me.                 And it was a

 19      three-to-two vote on that board.                        And that --

 20      not to give up the names of that list, which

 21      is against the law, by the way.                       And the

 22      three that voted not to give it up were the



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                                                                            Page 54
   1     Democrats on the board.

   2              Q.         Okay.      So are you telling me

   3     that you, yourself, did not submit a new

   4     challenge --

   5              A.         No, I did not.             That was -- no,

   6     I did not.        That was the list that was

   7     originally submitted to them.

   8                         I wanted -- and so did other

   9     people, wanted the names of the voters that

 10      were on the original list that actually voted

 11      in the election.

 12               Q.         Okay.      So when you appeared

 13      before Jackson County in December, you were

 14      not there to present a new challenge list?

 15               A.         No.     No.      I was there to get

 16      the names of the ones that actually voted off

 17      the original challenge list.

 18               Q.         Okay.      At any point before the

 19      2021 election, did you authorize True the

 20      Vote to submit a challenge in your name -- a

 21      new challenge in your name?

 22               A.         Before the what election?



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                                                                            Page 55
   1              Q.         After the 2020 general election

   2     but before the 2021 runoff, did you authorize

   3     a new challenge in your name?

   4              A.         No, I did not.             But I know it

   5     was not -- there was not a challenge either.

   6     The two members on the board of elections

   7     that I actually appointed when I was the

   8     chairman of the Jackson County Election Board

   9     asked for and could not receive the names of

 10      the people that voted in the presidential

 11      election that were on that original list.

 12      And they still haven't been able to get them.

 13               Q.         Okay.      Can you explain --

 14      sorry.      Finish your answer.                I'm sorry.

 15               A.         No.     That's okay.

 16               Q.         Can you explain why this --

 17      this press release would then say during this

 18      meeting was discussed the challenges that he

 19      and True the Vote presented were discussed?

 20                          MS. KRAMER:           Objection.

 21               Speculation.

 22                          You may answer, but



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                                                                            Page 56
   1              speculation -- objection.

   2                         Just note my objection, please.

   3              A.         What was the question again?

   4     BY MS. FORD:

   5              Q.         Mr. Johnson, I'm asking you why

   6     this press release would say --

   7              A.         Do you have anything -- what's

   8     the rest of that article say?

   9                         MS. FORD:          Yeah, Dan, are we

 10               able to scroll down through this a

 11               little bit?

 12               A.         (Document[s] reviewed.)

 13      BY MS. FORD:

 14               Q.         Mr. Johnson, I apologize, but

 15      I'm a little confused myself.

 16                          I have watched the video of

 17      this hearing before the Jackson County

 18      Elections Board, and it very much appeared to

 19      me that you were presenting a challenge, and

 20      the county was deciding whether there was

 21      probable cause.

 22               A.         That -- I know what article



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                                                                                 Page 57
   1     that is now.         That came out long after

   2     I submitted the original challenge.                          I mean,

   3     that's got to be close to over a month later

   4     that that article came out.

   5              Q.         Okay.      So whenever you appeared

   6     before the Jackson County Board of Elections

   7     to present a challenge, you're telling me

   8     that was for the 2020 general election?

   9              A.         Yes.      That was in November,

 10      before the election, or at the end of

 11      October.

 12               Q.         Okay.

 13               A.         And the video that was taken

 14      was taken by the Democrat chair that was at

 15      that thing.         And you could probably call him

 16      and ask him when he taped it.                      Or it's

 17      probably on YouTube.

 18               Q.         Okay.      So is the information in

 19      this press release incorrect, then, that you

 20      did not -- you did not go before the Jackson

 21      County Board of Elections in December 2020 to

 22      present a challenge?



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                                                                                     Page 58
   1              A.         No.     I went before the board

   2     of -- and this is what happened when I went

   3     before the board of elections.                       I went before

   4     the regular election, not the primary.

   5              Q.         Okay.

   6              A.         I had nothing to do with the

   7     primary except trying to get voters out.                             And

   8     I don't even believe that True the Vote

   9     submitted a challenge for the primary.

 10               Q.         And by "primary," do you mean

 11      the runoff or you do mean the primary?

 12               A.         No, no.        The general.             I mean

 13      the runoff.

 14               Q.         Okay.      So you don't believe --

 15               A.         This here all happened before

 16      the general election.

 17               Q.         Okay.      So it's your

 18      understanding that True the Vote did not

 19      submit a challenge in Jackson County --

 20               A.         Absolutely.

 21               Q.         -- for the runoff?                Okay.

 22                          And why did you not submit a



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                                                                                 Page 59
   1     challenge before the runoff if you had before

   2     the general?

   3              A.         Because I was busy trying to

   4     get voters out.

   5              Q.         Okay.      All right.            Well, then

   6     let's go back to the challenge list from

   7     2020, the 2020 general election that you

   8     submitted.

   9                         So you said that one was based

 10      on National Change of Address; correct?

 11               A.         Yes.

 12               Q.         And do you know of any other

 13      data source or anything that was applied to

 14      that list other than National Change of

 15      Address?

 16               A.         I'm not privy to that.                   I don't

 17      know if they did or not.                  I know it was a

 18      post office change of address.

 19               Q.         Okay.      And who sent you that

 20      list?

 21               A.         Nobody sent me that list.                     It

 22      was sent to Jackson County Election Board.



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                                                                                 Page 60
   1              Q.         I thought that you testified

   2     earlier that you looked at the list.

   3              A.         I did look at the list.                       It

   4     didn't get sent to me.

   5              Q.         How did you look at it then?

   6              A.         I think it was in a text to me,

   7     before they submitted it.

   8              Q.         You think that someone texted

   9     you 1400 names?

 10               A.         It might have been in an

 11      e-mail.       I don't keep any of that stuff,

 12      so...

 13                          It might have been in an

 14      e-mail.       I saw the list.             I was curious to

 15      see how many there were on the list.

 16               Q.         And did you read all of the

 17      names on the list before you submitted that

 18      challenge?

 19               A.         I went through it real quickly

 20      to see who I knew -- that I knew moved out of

 21      the county.

 22                          I also went through it to see



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                                                                                     Page 61
   1     if there was any military names on it,

   2     because we were taking the military names off

   3     because they're legally eligible to vote in

   4     their home county.

   5              Q.         Okay.      And did you end up

   6     taking any names off the list?

   7              A.         No, I did not.

   8              Q.         Okay.      Did you do any other

   9     sort of investigation, such as, you know,

 10      going door to door or calling people to see

 11      if they still lived there?

 12               A.         No, I did not.

 13               Q.         Okay.      And is it correct you

 14      said you think it's about 1400 voters that

 15      were on that list?

 16               A.         That were on that list.                       And it

 17      was about -- I want to say somewhere around

 18      600 that were on the list, or less, actually

 19      voted so -- in that election.

 20               Q.         Okay.      At the time you

 21      submitted that list, what did you hope that

 22      Jackson County would do with that list?



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                                                                            Page 62
   1              A.         I had hoped they'd do the right

   2     thing.

   3              Q.         What do you mean by that?

   4              A.         To check it out.

   5              Q.         And can you just spell out for

   6     me what you mean by "check it out"?

   7              A.         To see if the people actually

   8     lived in the county.               That's what they're

   9     supposed to do.

 10               Q.         And how did you think they

 11      would do that?

 12               A.         Through their process that they

 13      have.

 14               Q.         And can you just spell that --

 15      like, what process were you envisioning they

 16      would do?

 17               A.         Whatever their process is.

 18               Q.         So you don't know the process?

 19               A.         The process is they go through

 20      the Secretary of State's office, and they --

 21      they're supposed to send out a letter in

 22      advance of the election to that address to



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                                                                            Page 63
   1     see if the people still live there.

   2                         As a matter of fact, they sent

   3     one for that -- after the election, they sent

   4     one for this Jessica Bryant that was

   5     registered at my address.                   And I took it over

   6     to them.       And they opened it up, and they

   7     said, "Oh, she actually has moved."

   8                         I said, "Yeah.             I told you that

   9     almost three years ago."

 10               Q.         Okay.      So you thought there

 11      would be a process where the SoS would send a

 12      letter to these people, and then I assume

 13      either they would respond or they would not

 14      respond?

 15               A.         Right.

 16               Q.         And then verbally they'd come

 17      off the list --

 18               A.         Right.

 19               Q.         -- if they didn't respond?

 20               A.         Right.

 21               Q.         Okay.      So it sounds like you

 22      did not expect Jackson County to personally



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                                                                              Page 64
   1     investigate each of these voters themselves?

   2              A.         I knew they wouldn't.

   3              Q.         Okay.      Because you thought they

   4     didn't have the capacity or...

   5              A.         Oh, no.        They got the capacity.

   6              Q.         You just thought they wouldn't?

   7              A.         I was very confident that they

   8     would not do the right thing and do their

   9     job.

 10               Q.         Okay.      Just one moment.

 11                          (Pause.)

 12                          And at the time -- or after you

 13      submitted that challenge, I'll say, did you

 14      hear from anybody who said that they were

 15      improperly included on that list?

 16               A.         No, I did not.

 17               Q.         Okay.

 18                          THE VIDEOGRAPHER:                Ms. Ford, do

 19               you want me to take down this

 20               document?

 21                          MS. FORD:          Yes.      Can you please

 22               download it?



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                                                                             Page 65
   1                         Thank you, Dan.

   2                         Actually, do you mind if we

   3              take five minutes?

   4                         THE VIDEOGRAPHER:                Stand by

   5              while we go off the record.

   6                         The time is 10:43 a.m., and

   7              we're going off the record.

   8                         (Recess taken.)

   9                         THE VIDEOGRAPHER:                The time is

 10               10:54 a.m.         We're back on the record.

 11      BY MS. FORD:

 12               Q.         Okay.      Mr. Johnson, when you

 13      submitted the challenge of 1400 voters,

 14      I guess we're still talking about the --

 15      before the November 2020 election -- I guess

 16      I just want you to put in your own words what

 17      you hoped would happen.

 18               A.         What I hoped would have

 19      happened is that the challenges would have

 20      been taken up and the right thing, by law,

 21      would have been done.                And it didn't matter

 22      who the person was.



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                                                                                  Page 66
   1                         You know, if you live in --

   2     I'll use counties around here.                       If you lived

   3     in and were registered in Gwinnett County and

   4     moved to Rabun County, but you were still

   5     voting in Gwinnett County, that actually is

   6     against the law.            And you should reregister

   7     in Rabun County.

   8                         Or if you lived in Gwinnett

   9     County and you moved to South Carolina and

 10      you were still registered in Gwinnett County,

 11      you could also, by the way, register in

 12      South Carolina because there is no backup to

 13      that.

 14                          So I would hope that they would

 15      have done that and just made everybody that

 16      was legally able or eligible to vote to vote.

 17                          But, for some reason, they

 18      don't do their job when they're supposed to

 19      do their job during the years when they --

 20      because they get a change of address in.                          The

 21      state -- Secretary of State and those boards

 22      get a change of address submitted to them.



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                                                                            Page 67
   1     And they should do the work then and not wait

   2     until, oh, it's election time.

   3              Q.         Okay.      From your perspective,

   4     do you think someone can be less likely to

   5     vote, you know, if they appeared on the list

   6     saying their eligibility was challenged?

   7              A.         No, I don't.            Because you know

   8     what?     I actually did -- when I first --

   9     probably the second year I was in Jackson

 10      County, I became the chairman of the party

 11      there.

 12                          And I actually got involved

 13      with the city vote, that 25 people who no

 14      longer lived in the city or didn't even live

 15      in the city limits -- all they had was the

 16      ZIP Code; they should have been registered in

 17      the county -- I actually challenged the

 18      mayor's race of 25 people.

 19                          And -- because they did the

 20      right thing back then -- that election board

 21      did the right thing and investigated it and

 22      had the people show up and prove that they



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                                                                            Page 68
   1     actually lived in the city limits.

   2                         Well, most of them didn't show

   3     up.    Most of them just sent back the letter

   4     and said, "Well, I don't live in the city

   5     limits."

   6                         That's what I actually would

   7     want to happen in one of these elections.

   8     so this isn't the first time I've done this.

   9              Q.         Okay.      And that makes sense.

 10                          And I just want to make sure

 11      I understand you.

 12                          After the challenge you did

 13      in -- I'm sorry, before the November 2020

 14      election, you did not submit any further

 15      challenges.

 16               A.         No.

 17               Q.         And --

 18               A.         You mean after the 2020

 19      election?

 20               Q.         Right.

 21               A.         Right.       I did not submit

 22      another challenge.             And, to my knowledge,



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                                                                               Page 69
   1     neither did True the Vote.

   2              Q.         Okay.       And you just -- before,

   3     it sounded like you just thought it would be

   4     pointless to submit a challenge.

   5              A.         Yes.       Yeah, I did.            They didn't

   6     do anything the first time.                     What made me --

   7     you know, nothing in my mind thought they

   8     would do anything the second time.

   9              Q.         Okay.       So you just --

 10               A.         I kind of --

 11               Q.         -- thought your time was better

 12      spent elsewhere?

 13               A.         Yeah.

 14               Q.         Okay.

 15                          MS. FORD:           Dan, could you pull

 16               up Exhibit H -- actually, I'm sorry,

 17               Dan.     No exhibit at this time.

 18      BY MS. FORD:

 19               Q.         Okay.       So, Mr. Johnson, you

 20      were going on with your usual, sounds like,

 21      maybe campaign work in advance of the 2021

 22      election.        And your only participation in



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                                                                            Page 70
   1     True the Vote's challenge program was to

   2     forward names.

   3              A.         Yes.

   4              Q.         Okay.      Did you authorize anyone

   5     at True the Vote to submit a challenge list

   6     in your name for 2021?

   7              A.         Yes.      And I don't recall who

   8     that person was, but yes, I did.

   9              Q.         In advance of the runoff

 10      election?

 11               A.         No, no, no.           No.

 12               Q.         So only in advance of the

 13      2021 --

 14               A.         Like I said, to my knowledge,

 15      they did not do one in Jackson County for the

 16      runoff election.

 17               Q.         Okay.      So just so I fully

 18      understand, because I was confused, you did

 19      not authorize anyone to submit a challenge on

 20      your behalf for the 2021 runoff election.

 21               A.         Right.

 22               Q.         Okay.



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                                                                                  Page 71
   1                         MS. FORD:          Dan, sorry, could we

   2              pull up Exhibit H now.

   3                         THE VIDEOGRAPHER:                What I was

   4              going to go to say, Ms. Ford, is:

   5              I did not receive an H from you.                           I

   6              have A through G.

   7                         MS. FORD:          My colleague, Jacob,

   8              would have just uploaded it.

   9                         THE VIDEOGRAPHER:                Okay.

 10                          (Discussion off the record.)

 11                          (Ford Exhibit H, Letter Re:

 12               Elector Challenge, Bates Def Williams

 13               0859, was marked for identification,

 14               as of this date.)

 15                          THE DEPONENT:             Can you go down

 16               so I could see the date of that

 17               letter?       Down -- not that way.                      Up.

 18               Up.    Up.     Up.      Okay.

 19      BY MS. FORD:

 20               Q.         Mr. Johnson, do you recognize

 21      this letter?

 22               A.         Go up with it so I -- where I



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                                                                            Page 72
   1     can read it.         Hold on a minute.

   2                         (Document[s] reviewed.)

   3                         No, I don't remember doing

   4     that.

   5              Q.         Okay.      Okay.        So you don't

   6     remember submitting this?

   7              A.         No.

   8              Q.         Okay.      And you don't remember

   9     telling someone to submit it for you?

 10               A.         No.

 11               Q.         Okay.

 12                          MS. FORD:          Dan, would you mind

 13               also pulling up the other exhibit you

 14               just downloaded.

 15                          (Ford Exhibit I, E-mail string,

 16               top e-mail to Dara Lindenbaum and

 17               others from Marisa Pyle, 12/21/20,

 18               No Bates, was marked for

 19               identification, as of this date.)

 20               A.         I have no idea who that person

 21      is.

 22                          MS. FORD:          And, Dan, here, can



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                                                                                   Page 73
   1              you scroll down, I believe, to the

   2              last page.         And make this bigger, if

   3              you can.       Scroll up a little bit so we

   4              can see the body of the e-mail and the

   5              date.

   6                         THE VIDEOGRAPHER:                So we're

   7              clear:      This is the last page, and

   8              this is --

   9                         MS. FORD:          I'm so sorry.              That

 10               page.      Can we make this bigger,

 11               please, so we can see the date?

 12                          THE VIDEOGRAPHER:                Sure.

 13                          MS. FORD:          Thank you.

 14      BY MS. FORD:

 15               Q.         So, Mr. Johnson, this is an

 16      e-mail that was sent on December 19, 2020,

 17      for a challenge attachment of 2300 voters

 18      that was sent in your name.

 19                          Do you remember submitting

 20      this?

 21               A.         No, I don't.            But you know

 22      what?     That name at the bottom is the --



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                                                                            Page 74
   1     Pete Fuller, that's the Democratic chair in

   2     Jackson County.

   3                         MS. FORD:          Can we scroll down

   4              now to the last page.                 Sorry, Dan.

   5     BY MS. FORD:

   6              Q.         This letter is signed by you,

   7     though.       I believe that Pete Fuller is just

   8     forwarding the e-mail, and that's why his

   9     name comes up at the bottom.

 10                          Do you remember authorizing

 11      anyone to submit this challenge on your

 12      behalf?

 13               A.         No, I do not.             No, I do not.

 14               Q.         Okay.      So is it a surprise to

 15      you --

 16                          MS. KRAMER:           Let her finish the

 17               question.        Just so the court reporter

 18               can hear you guys, let her finish

 19               first, and then she'll let you

 20               respond.

 21                          THE DEPONENT:             Okay.

 22                          MS. FORD:          Thank you, Courtney.



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                                                                            Page 75
   1     BY MS. FORD:

   2              Q.         So is it a surprise to you to

   3     learn today that you challenged 2300 voters

   4     in Jackson County in December of 2020?

   5              A.         Because, yeah, I thought it was

   6     1400.     Maybe it was 1400 that they actually

   7     found that were still registered.

   8                         I don't remember the original,

   9     but I know 1400.

 10               Q.         Okay.      But you do not remember

 11      submitting this challenge?

 12               A.         No.

 13               Q.         Okay.

 14               A.         And I wouldn't be surprised if

 15      Pete Fuller did it in my name.                       That would

 16      not surprise me.

 17               Q.         Okay.

 18                          MS. FORD:          Dan, I'm done with

 19               this exhibit.           Thank you.

 20               A.         Excuse me.          Can I get a copy of

 21      that?

 22      ///



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                                                                            Page 76
   1     BY MS. FORD:

   2              Q.         Sure.

   3              A.         Okay.

   4              Q.         We can send you that after.

   5                         So you said that you have met

   6     Catherine Engelbrecht maybe once?

   7              A.         I've never met Catherine

   8     Engelbrecht.

   9              Q.         You've never.

 10                          Have you ever talked to her on

 11      the phone?

 12               A.         And I told you that the first

 13      time.

 14               Q.         I'm sorry.          I missed the last

 15      part of your answer.

 16               A.         I said I've never met Catherine

 17      Engelbrecht.         And I told you the first time

 18      you asked me that.

 19               Q.         I'm sorry.          I forgot.

 20                          Have you ever spoken with her

 21      on the phone?

 22               A.         Maybe twice.



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                                                                            Page 77
   1              Q.         What was discussed during those

   2     conversations?

   3              A.         I was asking her to come speak

   4     to my GOP group.

   5              Q.         And did she do that?

   6              A.         We haven't scheduled it yet.

   7              Q.         Okay.      So this was recently?

   8              A.         Yes.

   9              Q.         Okay.      During the lead-up to

 10      this runoff election, did you attend any

 11      meetings or calls organized by True the Vote?

 12               A.         I believe there might have been

 13      one that I actually attended, but they had a

 14      Zoom call, and they brought me in on the

 15      phone.      I don't do Zoom at all.

 16               Q.         Okay.      But you joined a call?

 17               A.         Yeah, I joined the call.

 18      I could hear what they were saying.

 19               Q.         You couldn't hear what they

 20      were saying?

 21               A.         No.

 22                          MS. KRAMER:           Counsel, I just



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                                                                                     Page 78
   1              want a point of clarification.

   2                         Are you talking about True the

   3              Vote, as an organization, or the

   4              attorneys for this deposition?                           I just

   5              want to clarify that.

   6                         MS. FORD:          I am speaking about

   7              True the Vote, the organization, or

   8              its leaders.

   9              A.         Oh, no.        No.      No.      Then no.

 10                          I've talked to the -- Bopp is

 11      his last name?

 12                          MS. KRAMER:           The attorneys.

 13               A.         Yeah.      That's it.

 14      BY MS. FORD:

 15               Q.         Okay.      No, I'm not asking about

 16      that.

 17               A.         Okay.      Then no.

 18               Q.         Okay.      Just now, you mentioned

 19      that you thought it was possible that Pete

 20      Fuller submitted that challenge.

 21                          You said Pete was affiliated

 22      with the Democratic party?



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                                                                                Page 79
   1              A.         Yeah, he's the chairman of

   2     Jackson County.           And I didn't -- I said it's

   3     possible he would do that.                    And that's why I

   4     wanted a copy of this thing.

   5              Q.         Right.       Right.

   6                         Why do you think he would do

   7     that?

   8              A.         We don't have a very good

   9     relationship.          Let's just put it that way.

 10               Q.         Well, if Pete had submitted

 11      that, what would have been his motivation?

 12                          MS. KRAMER:           Objection.

 13               Speculation.

 14                          THE DEPONENT:             Yeah.

 15      BY MS. FORD:

 16               Q.         You can answer, if you'd like,

 17      Mr. Johnson.

 18               A.         No, I'm not going to.                   That is

 19      speculation.

 20               Q.         So -- but do you think he would

 21      have done it to get back at you or something?

 22                          MS. KRAMER:           Objection.



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                                                                            Page 80
   1              Speculation.

   2              A.         That's also speculation.

   3     BY MS. FORD:

   4              Q.         Mr. Johnson, even though your

   5     counsel is objecting, you may still answer.

   6     It's just for the record.

   7              A.         I just said I thought that is

   8     speculation also.

   9              Q.         Okay.      One moment.

 10                          (Pause.)

 11                          MS. FORD:          Dan, can we please

 12               bring up Exhibit D.

 13                          (Ford Exhibit D, Defendant Ron

 14               Johnson's Responses to Plaintiffs'

 15               First Interrogatories, No Bates, was

 16               marked for identification, as of this

 17               date.)

 18                          MS. FORD:          And scroll down here

 19               just to the start of it.

 20      BY MS. FORD:

 21               Q.         Mr. Johnson, do you recognize

 22      this document?



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                                                                              Page 81
   1              A.         (Document[s] reviewed.)

   2                         Oh, yeah.          Yep.

   3              Q.         Okay.      So you've seen it

   4     before?

   5              A.         Yeah.

   6                         MS. FORD:          And, Dan, could we

   7              scroll down a couple pages.

   8                         THE VIDEOGRAPHER:                Any

   9              particular paragraph that you're aware

 10               of that I can zoom in for you?

 11                          MS. FORD:          I want to go to

 12               where we have Interrogatory No. 1.

 13                          THE VIDEOGRAPHER:                There it is,

 14               Interrogatory No. 1.

 15                          Do you want me to blow up the

 16               question and the response or just the

 17               question?

 18                          MS. FORD:          Yes.      Yes, please.

 19      BY MS. FORD:

 20               Q.         Mr. Johnson, I just wanted to

 21      take a moment to go through these.

 22                          So do you remember reading



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                                                                              Page 82
   1     these questions and providing responses to

   2     them?

   3              A.         Yes, I do.

   4              Q.         Okay.      I just want to make sure

   5     you agree that your responses are still

   6     accurate or, if not, give you a chance to

   7     update your response.

   8              A.         They're accurate.                And I really

   9     object to and am appalled that anybody would

 10      put "we targeted voters."

 11                          No, we did not.

 12               Q.         All right.          Your objection is

 13      noted.

 14                          MS. FORD:          Can we scroll down

 15               to Interrogatory No. 5 and make it

 16               large, if you can, Dan.

 17      BY MS. FORD:

 18               Q.         So, here, Mr. Johnson, we asked

 19      you to describe all individuals that were

 20      affiliated with True the Vote with whom you

 21      communicated regarding the elector

 22      challenges.



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                                                                            Page 83
   1                         And, here, you responded at the

   2     bottom, Amy Holsworth, Catherine Engelbrecht,

   3     Ron Johnson, Gregg Phillips, I believe the

   4     next one says John David Phillips, and the

   5     last one says Mark Williams.

   6                         Is that accurate?

   7              A.         (Document[s] reviewed.)

   8                         (Indecipherable conversation

   9              between the deponent and Ms. Kramer.)

 10      BY MS. FORD:

 11               Q.         Mr. Johnson, do you remember

 12      reading this response before you signed this

 13      document?

 14               A.         Yeah, I read it.               I'm

 15      refamiliarizing myself with it.                       It's been

 16      awhile.

 17               Q.         Sure.

 18                          MS. FORD:          Dan, can we scroll

 19               up to the bigger part that's

 20               highlighted on the previous page?

 21                          (Videographer complied.)

 22                          MS. FORD:          Yes.      Perfect.



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                                                                                Page 84
   1                         Sorry.       I didn't realize you

   2              lost the highlighting.

   3     BY MS. FORD:

   4              Q.         Here, Mr. Johnson, when you

   5     said you "communicated with Ron Johnson," did

   6     you mean to state that you communicated with

   7     someone else?

   8              A.         No.     That was me.

   9              Q.         You meant to say you

 10      communicated with yourself?

 11               A.         Yes.

 12               Q.         Okay.

 13               A.         There was no other Ron Johnson

 14      in the Republican Party who I know of.

 15                          Who's John David?                I did not --

 16      we need to take that one out.

 17               Q.         Sorry.       We can -- what do you

 18      mean, "we can take that one out"?

 19               A.         John David Phillips.

 20               Q.         Is that not accurate?                   You did

 21      not communicate with John David Phillips?

 22               A.         No, I didn't.



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                                                                                    Page 85
   1              Q.         Okay.      Do you know why you

   2     would have said that?

   3              A.         I have no idea at the time.

   4              Q.         And did you say earlier you

   5     don't actually know who John David Phillips

   6     is?

   7              A.         I don't.         I did say earlier

   8     that, I believe.

   9                         MS. KRAMER:           Counsel, can we

 10               take a five-minute break?

 11                          MS. FORD:          Sure.

 12                          MS. KRAMER:           Thank you.

 13                          THE VIDEOGRAPHER:                Okay.        Stand

 14               by.

 15                          The time is 11:14 a.m.                   We're

 16               going off the record.

 17                          (Recess taken.)

 18                          THE VIDEOGRAPHER:                The time is

 19               11:19 a.m.         We're back on the record.

 20      BY MS. FORD:

 21               Q.         All right.          Mr. Johnson, I just

 22      have a few more questions for you.



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                                                                                  Page 86
   1                         So when we requested documents

   2     and communications from you regarding the

   3     Georgia election challenges, did you search

   4     your e-mail Inbox for any e-mails that might

   5     be relevant?

   6              A.         Yes, I did.           But I don't keep

   7     my e-mails.         So -- I mean, I get 150, 200

   8     e-mails a day about what I do with the

   9     Republican Party.             So I delete everything

 10      every other day.            So I have no e-mails

 11      regarding this.

 12                          And during the break, I did

 13      read this.        And when this lawsuit that was

 14      brought against us started, we were getting a

 15      lot of communication from our attorneys.                          And

 16      that's why that is on that.                    I realize now,

 17      because it was part of an e-mail thread.

 18                          So I did have some kind of

 19      communication, if you want to call it that,

 20      but I've never -- other than that, from the

 21      attorneys with John David Phillips, I did it

 22      because they were on the e-mail threads.



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                                                                            Page 87
   1              Q.         Got it.

   2                         So that's why you thought you

   3     had communicated with John David Phillips, is

   4     because you had later communications with him

   5     and with Mr. Bopp or with another attorney?

   6              A.         It was somebody at Mr. Bopp's

   7     office, yeah.          The attorneys.

   8              Q.         Okay.      Okay.        So you say you

   9     delete your e-mails every other day.

 10               A.         Every other day.

 11               Q.         How long have you been doing

 12      that?

 13               A.         Oh, let's see.             I've been a

 14      party officer for ten years, so at least that

 15      long.

 16               Q.         Okay.      And can you just walk me

 17      through:       When you say you delete e-mails, do

 18      you just click and press the little trash

 19      can?

 20               A.         No.     I get rid of them

 21      completely.

 22               Q.         How do you do that?



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                                                                            Page 88
   1              A.         On my phone.            It's got a button

   2     that I can do that with.                  Like empty it out.

   3     I empty it out.

   4              Q.         So you actually go into your

   5     Deleted folder --

   6              A.         Yes.

   7              Q.         So you go into your Deleted

   8     folder and you delete everything in there as

   9     well?

 10               A.         Yes.

 11               Q.         Okay.      And do you do that for

 12      all kinds of e-mails that you receive?

 13               A.         Everything.           It doesn't matter

 14      what it is.

 15               Q.         Everything.           Okay.

 16                          And do you also regularly

 17      delete text messages?

 18               A.         Yes.      Same thing.

 19               Q.         Every other day?

 20               A.         Yes.

 21               Q.         And how long have you been

 22      doing that?



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                                                                            Page 89
   1              A.         Oh, ten years or more.

   2              Q.         And you do that for all kinds

   3     of texts that you receive?

   4              A.         Yes.      It doesn't matter who.

   5              Q.         Okay.      So does that mean by the

   6     time you received this lawsuit, which

   7     I believe would have been right before

   8     Christmas, you had already deleted all

   9     communications about --

 10               A.         Yes.

 11               Q.         -- these challenge efforts or

 12      forwarding names?

 13               A.         Yes.

 14               Q.         Okay.      Did anyone instruct you

 15      to delete any communications you had about

 16      this?

 17               A.         No, they did not.

 18               Q.         Did anyone instruct you to

 19      preserve any communications related to this?

 20               A.         No, they did not.

 21               Q.         Okay.      All right.

 22                          I just have a few more



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                                                                                 Page 90
   1     questions.        Mr. Johnson, do you believe that

   2     voter fraud occurred during the 2020 general

   3     election?

   4              A.         Yes, I believe there was.                     I

   5     don't believe anything happened with the

   6     machines.       I believe it was in the absentee

   7     ballot area and harvesting of ballots.

   8                         I believe that people in other

   9     states got ballots.              Our ballots did not have

 10      a watermark on them.               Anybody could have

 11      printed them up in any print shop in the

 12      world.      So I believe that that's what's

 13      happening.

 14                          And I'm working on a bill with

 15      some other people and state legislators and

 16      state senate with the chain of custody.                           So

 17      we're going to try to stop that problem from

 18      happening.

 19                          I'm not a conspiracy thinker

 20      about the machines or any of that, but I do

 21      think something happened with those ballots,

 22      so...



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                                                                                     Page 91
   1              Q.         And was that part of the

   2     motivation of submitting the challenges that

   3     you did submit, that you thought there

   4     was ballot harvesting?

   5              A.         No.     I submitted them

   6     beforehand.

   7              Q.         Right.       Were you worried

   8     about -- were you worried about the potential

   9     for ballot harvesting?

 10               A.         Absolutely.

 11               Q.         Okay.      Just one moment.

 12                          (Pause.)

 13                          All right.          And I think maybe

 14      my last question is:               For the challenges that

 15      you did submit to Jackson County before the

 16      general election, do you remember how that

 17      was submitted?          Was it sent by mail?                      Was it

 18      e-mailed?

 19               A.         I believe it was -- I really

 20      don't know.         I don't know how it was done.

 21      I think it was done by e-mail.

 22               Q.         Okay.      But someone else sent it



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                                                                            Page 92
   1     for you?

   2              A.         Yes.

   3              Q.         Okay.      And someone affiliated

   4     with True the Vote sent it for you?

   5              A.         Yes.

   6              Q.         Okay.      But you just can't

   7     remember who precisely?

   8              A.         No.

   9              Q.         Okay.

 10                          Mr. Johnson, are you continuing

 11      to delete your text messages and e-mails

 12      every other day?

 13               A.         Yes.

 14               Q.         All right.          So you've continued

 15      that practice?

 16               A.         Yes.      I will continue to do

 17      that practice.

 18               Q.         Okay.      And, Mr. Johnson, during

 19      the break, did you discuss any of your

 20      answers with your counsel?

 21               A.         No, I did not.             She actually

 22      had to go to the ladies' room.



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                                                                             Page 93
   1              Q.         Okay.

   2                         MS. FORD:           All right,

   3              Mr. Johnson.           Those are all the

   4              questions that I have for you today.

   5                         THE DEPONENT:              Okay.       Thank

   6              you.

   7                         MS. KRAMER:            I don't have any

   8              questions, Counsel.

   9                         THE VIDEOGRAPHER:                 All right.

 10               So if there's no further statements

 11               for the record, we're going to go off.

 12                          The time is 11:27 a.m.,

 13               September 29th, 2021.                  We're going off

 14               the record, completing today's

 15               video-recorded session.

 16                          (Time noted:             11:27 a.m. EDT)

 17

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                                                                            Page 94
   1                               CERTIFICATE
   2                     I, LISA A. KNIGHT, Registered
         Diplomate Reporter and Certified Realtime
   3     Reporter, do hereby certify that prior to the
         commencement of the examination, RON JOHNSON
   4     was duly sworn by me to testify to the truth,
         the whole truth, and nothing but the truth.
   5                     I DO FURTHER CERTIFY that the
         foregoing is a verbatim transcript of the
   6     testimony as taken stenographically by and
         before me at the time, place, and on the date
   7     hereinbefore set forth, to the best of my
         ability, and that reading and signing was not
   8     requested.
   9                     I DO FURTHER CERTIFY that I am
         neither a relative nor employee nor attorney
 10      nor counsel of any of the parties to this
         action, and that I am neither a relative nor
 11      employee of such attorney or counsel, and
         that I am not financially interested in the
 12      action.
 13
 14
 15               __________________________________
 16               LISA A. KNIGHT
 17               NCRA Registered Diplomate Reporter
 18               NCRA Certified Realtime Reporter
 19               NCRA Certified LiveNote Reporter
 20               NCRA Realtime Systems Administrator
 21               Dated:      October 5, 2021
 22


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                                                                            Page 95
  1           Ron Johnson, c/o

              THE BOPP LAW FIRM

  2           1 South Sixth Street

              Terre Haute, Indiana         47807-3510

  3

  4           Case: Fair Fight, Inc. et al. v. True the Vote, et al.

              Date of deposition: September 29, 2021

  5           Deponent: Ron Johnson

  6

  7           Please be advised that the transcript in the above

  8           referenced matter is now complete and ready for signature.

  9           The deponent may come to this office to sign the transcript,

 10           a copy may be purchased for the witness to review and sign,

 11           or the deponent and/or counsel may waive the option of

 12           signing. Please advise us of the option selected.

 13           Please forward the errata sheet and the original signed

 14           signature page to counsel noticing the deposition, noting the

 15           applicable time period allowed for such by the governing

              Rules of Procedure. If you have any questions, please do

 16           not hesitate to call our office at (202)-232-0646.

 17

 18

 19           Sincerely,

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  4             SIGNATURE PAGE
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  5             Witness Name: Ron Johnson
                Deposition Date: September 29, 2021
  6
  7             I do hereby acknowledge that I have read
                and examined the foregoing pages
  8             of the transcript of my deposition and that:
  9
 10             (Check appropriate box):
                (    ) The same is a true, correct and
 11             complete transcription of the answers given by
                me to the questions therein recorded.
 12             (   ) Except for the changes noted in the
                attached Errata Sheet, the same is a true,
 13             correct and complete transcription of the
                answers given by me to the questions therein
 14             recorded.
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 16
 17
 18             _____________                        _________________________
 19                 DATE                                WITNESS SIGNATURE
 20
 21             _____________                        __________________________
 22                 DATE                                      NOTARY



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  9             Witness Name: Ron Johnson

 10             Deposition Date: September 29, 2021

 11             Page No.        Line No.              Change

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 21            ___________________________                         _____________

 22            Signature                                              Date



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